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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION




UNITED STATES OF AMERICA,

             Plaintiff,
                                                CASE NO. 1:07-cr-213-05
v.
                                                HONORABLE PAUL L. MALONEY
SHAWN B. ECHOLS,

             Defendant.
                                  /


     ORDER VACATING PREVIOUS ORDER AND DISMISSING MOTION
                FOR MODIFICATION OF SENTENCE


      Defendant Shawn B. Echols has filed a motion for modification of his sentence

pursuant to 18 U.S.C. § 3582(c)(2) based upon the modification of the Drug Quantity

Table with regard to cocaine base (crack cocaine).

      Section 3582(c)(2) permits a court to reduce the term of imprisonment of a

defendant who has been sentenced based on a sentencing range that has subsequently

been lowered by the Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendments 706

and 711 of the United States Sentencing modified the Drug Quantity Table with regard to

cocaine base (crack cocaine). These modifications were made retroactive effective

March 8, 2008. U.S.S.G. 1B1.10(c).

      It appears that Defendant has appealed this Court's order denying his motion to
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vacate, set aside, or correct sentence. His appeal is currently pending in the Sixth Circuit

Court of Appeals. (Dkt. No. 333, Notice of Appeal; CCA No. 10-1664). It is “settled law

that filing a notice of appeal with the district court divests the district court of jurisdiction

to act in a case, except on remedial matters unrelated to the merits of the appeal.” Fort

Gratiot Sanitary Landfill, Inc. v. Mich. Dep’t of Natural Res., 71 F.3d 1197, 1203 (6th

Cir.1995). Because of the pendency of the appeal, this Court has no jurisdiction to

consider Defendant’s motion for modification of his sentence. Accordingly,

       IT IS HEREBY ORDERED the Court’s previous order regarding motion for

modification of sentence (Dkt. No. 335) is VACATED.

       IT IS FURTHER ORDERED that Defendant’s motion for modification of

sentence (Dkt. No. 334) is DISMISSED WITHOUT PREJUDICE to defendant’s

ability to re-file the motion once his appeal has been resolved.




Date: May 26, 2010                           /s/ Paul L. Maloney
                                             Paul L. Maloney
                                             Chief United States District Judge
